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1
      Todd M. Friedman (SBN 216752)
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
2     21550 Oxnard St. Suite 780,
3     Woodland Hills, CA 91367
      Phone: 877-206-4741
4
      Fax: 866-633-0228
5     tfriedman@toddflaw.com
6
      Attorney for Plaintiff

7                        UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9

10    JOSEPH MENICHIELLO, individually       )           Case No.
      and on behalf of all others similarly  )
11
      situated,                              )           8:18-cv-01913-DOC-KES
12                                           )
      Plaintiff,                             )           NOTICE OF VOLUNTARY
13
                                             )           DISMISSAL OF ENTIRE
14    vs.                                    )           ACTION WITHOUT
15                                           )           PREJUDICE.
      ROYAL FUNDING GROUP INC., and )
16
      DOES 1 through 10, inclusive, and each )
17    of them,                               )
                                             )
18
      Defendant.                             )
19

20          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
21    Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
22    prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
23    motion for summary judgment. Accordingly, this matter may be dismissed
24    without prejudice and without an Order of the Court.
25
            Respectfully submitted this 29th Day of January, 2019.
26

27                                           By: s/Todd M. Friedman Esq.
                                                  Todd M. Friedman
28
                                                 Attorney For Plaintiff


                                       Notice of Dismissal - 1
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1                             CERTIFICATE OF SERVICE
2
      Filed electronically on January 29 2019 2018, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on January 29 2019 2018, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9     s/ Todd M. Friedman
10
        Todd M. Friedman
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                                       Notice of Dismissal - 2
